             Case 3:20-cr-00249-RS            Document 490     Filed 01/21/25     Page 1 of 3




 1 MICHAEL J. SHEPARD (SBN 91281)
    mshepard@kslaw.com
 2 KING & SPALDING LLP
   50 California Street, Suite 3300
 3 San Francisco, California 94111

 4 Telephone:     +1 415 318 1221

 5 KERRIE C. DENT (admitted pro hac vice)
    kdent@kslaw.com
 6 KING & SPALDING LLP
   1700 Pennsylvania Avenue, NW, Suite 900
 7
   Washington, DC 20006-4707
 8 Telephone:   +1 202 626 2394

 9 CINDY A. DIAMOND (SBN 124995)
    cindy@cadiamond.com
10 ATTORNEY AT LAW

11 58 West Portal Ave #350
   San Francisco, CA 94127
12 Telephone:    +1 408 981 6307

13 Attorneys for Defendant
   ROWLAND MARCUS ANDRADE
14

15

16                                 UNITED STATES DISTRICT COURT

17                                NORTHERN DISTRICT OF CALIFORNIA

18                                      SAN FRANCISCO DIVISION

19 UNITED STATES OF AMERICA,                           Case No. 3:2-cr-00249-RS
20
                     Plaintiff,                        REPLY IN SUPPORT OF DEFENDANT
21                                                     ANDRADE’S MOTION IN LIMINE
             v.                                        OBJECTING TO GOVERNMENT
22                                                     EXPERTS
     ROWLAND MARCUS ANDRADE,
23
                                                       Judge: Hon. Richard Seeborg, Chief Judge
                     Defendant.
24

25
             Defendant Rowland Marcus Andrade files this Reply in support of his Motion in Limine
26
     Objecting to Government Experts.
27

28                                                     1
      Reply in Support of Defendant Andrade’s Motion                     Case Number: 3:20-cr-00249-RS
      In Limine Objecting to Government Experts
            Case 3:20-cr-00249-RS            Document 490     Filed 01/21/25      Page 2 of 3




 1          Mr. Andrade appreciates that the government appears to agree with three of Mr.
 2 Andrade’s four objections: (1) the government agrees that, rather than say that Mr. Andrade

 3 “layered and commingled funds raised from investors in AML Bitcoin in order to conceal their

 4 course, and then to further conceal their integration, or use, for Andrade’s personal benefit,”

 5 ECF 4203:15-17 (Government’s Carfora Notice) (emphasis added), Special Agent Carfora will

 6 say that Mr. Andrade’s transactions “are consistent with or indicative of or appear to be efforts to

 7 conceal their source and conceal their integration or use.” ECF 482 at 2:24-26 (Government’s

 8 Response to Mr. Andrade’s Motion in Limine Objecting to Government Experts); (2) the

 9 government agrees that Special Agent Carfora “will not offer any expert opinion on whether he

10 believes any of the representations made were or were not fraudulent,” ECF 482 at 3:9-10,

11 despite the statement in his disclosure that Mr. Andrade’s transfer and use of funds to buy two

12 properties was “accomplished through the layering and comingling of funds Andrade raised from

13 AML Bitcoins through fraudulent misrepresentations.” ECF 420 at 3:24-25 (emphasis added);

14 and (3) Mr. Tabbal will remove his reference to “how to identify if a wallet is used for the sale of

15 child sexual abuse material (child pornography).” ECF 482 at 4:3-6.

16          The only remaining issue is whether Special Agent Carfora can state his conclusions in
17 the form of “is consistent with” money laundering, or whether he should be limited to “may be

18 consistent with.” The Ninth Circuit’s decision in United States v Alonso, 48 F.3d 1536 (9th Cir.

19 2005), makes a number of mentions of the latter formulation. See, e.g., id at 1541 (twice), 1542.

20 As the government, notes, however, it does approve of the government’s formulation. For the

21 reasons stated in his opening brief, Mr. Andrade submits that the latter formulation is the one that

22 best ensures that, while remaining potentially helpful and informative, the testimony will not

23 invade the province of the jury.

24

25

26

27

28
                                                      2
     Reply in Support of Defendant Andrade’s Motion                      Case Number: 3:20-cr-00249-RS
     In Limine Objecting to Government Experts
            Case 3:20-cr-00249-RS            Document 490     Filed 01/21/25        Page 3 of 3




                                                          Respectfully submitted,
 1

 2 DATED: January 21, 2025                                KING & SPALDING LLP
 3
                                                      By: /s/ Michael J. Shepard
 4                                                        MICHAEL J. SHEPARD
                                                          KERRIE C. DENT
 5                                                        CINDY A. DIAMOND
 6                                                        Attorneys for Defendant
                                                          ROWLAND MARCUS ANDRADE
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      3
     Reply in Support of Defendant Andrade’s Motion                      Case Number: 3:20-cr-00249-RS
     In Limine Objecting to Government Experts
